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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                      :


                                              :
ISAAC STURGEON                v.                                     Case No. 21-cr-91 (RCL)
                                              :
                                              :




DEFENDANT’S MOTION FOR ORDER DIRECTING THE USMS TO ARRANGE AND
               INCUR COSTS FOR WITNESS’S TRAVEL

       Pursuant to 28 U.S.C. § 1821, and the Fifth and Sixth Amendments to the U.S.

Constitution, Mr. Sturgeon respectfully moves this Honorable Court to issue the attached Order

directing the United States Marshals Service (USMS) to arrange the transportation and pay the

travel expenses of defense witness Edward Jones in the same manner as witnesses appearing on

behalf of the government.

       Undersigned counsel has already provided notice to the government and to co-defendant

counsel regarding this anticipated witness and has advised that he will be introduced as a character

witness on behalf of Mr. Sturgeon.

                                         CONCLUSION

       For the foregoing reasons, defendant Isaac Sturgeon requests the Court to grant his Motion.



                                              Respectfully submitted,

                                              A. J. KRAMER
                                              FEDERAL PUBLIC DEFENDER

                                                     /s/
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